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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF NEW YORK

RICHARD DENNIS, SONTERRA CAPITAL MASTER
FUND, LTD., FRONTPOINT FINANCIAL SERVICES
FUND, L.P., FRONTPOINT ASIAN EVENT DRIVEN FUND,
L.P., FRONTPOINT FINANCIAL HORIZONS FUND, L.P.,
and ORANGE COUNTY EMPLOYEES RETIREMENT                   Docket No. 16-cv-06496 (LAK)
SYSTEM, on behalf of themselves and all others similarly
situated,

                          Plaintiffs,

            -against-

JPMORGAN CHASE & CO., JPMORGAN CHASE BANK,
N.A., BNP PARIBAS, S.A., THE ROYAL BANK OF
SCOTLAND GROUP PLC, THE ROYAL BANK OF
SCOTLAND PLC, RBS N.V., RBS GROUP (AUSTRALIA)
PTY LIMITED, UBS AG, AUSTRALIA AND NEW
ZEALAND BANKING GROUP LTD., COMMONWEALTH
BANK OF AUSTRALIA, NATIONAL AUSTRALIA BANK
LIMITED, WESTPAC BANKING CORPORATION,
DEUTSCHE BANK AG, HSBC HOLDINGS PLC, HSBC
BANK AUSTRALIA LIMITED, LLOYDS BANKING
GROUP PLC, LLOYDS BANK PLC, MACQUARIE GROUP
LTD., MACQUARIE BANK LTD., ROYAL BANK OF
CANADA, RBC CAPITAL MARKETS LLC, MORGAN
STANLEY, MORGAN STANLEY AUSTRALIA LIMITED,
CREDIT SUISSE GROUP AG, CREDIT SUISSE AG, ICAP
PLC, ICAP AUSTRALIA PTY LTD., TULLETT PREBON
PLC, TULLETT PREBON (AUSTRALIA) PTY LTD., AND
JOHN DOES NOS. 1-50.

                            Defendants.

        PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
      SUPERSEDING ORDERS FOR CONDITIONAL CLASS CERTIFICATION FOR
    PURPOSES OF CLASS ACTION SETTLEMENTS WITH JPMORGAN CHASE & CO.
    AND JPMORGAN CHASE BANK, N.A. AND WESTPAC BANKING CORPORATION,
       AND FOR ORDERS APPROVING CLASS NOTICE PLAN AND SCHEDULING
      HEARING FOR FINAL APPROVAL OF THE SETTLEMENTS WITH WESTPAC
    BANKING CORPORATION, AUSTRALIA AND NEW ZEALAND BANKING GROUP
     LIMITED, COMMONWEALTH BANK OF AUSTRALIA, NATIONAL AUSTRALIA
    BANK LIMITED, JPMORGAN CHASE & CO. AND JPMORGAN CHASE BANK, N.A.,
       AND MORGAN STANLEY AND MORGAN STANLEY AUSTRALIA LIMITED
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       Pursuant to Rule 23(e) of the Federal Rules of Civil Procedure, Plaintiffs 1 respectfully

submit this memorandum of law and the Joint Declaration of Vincent Briganti and Christopher

McGrath dated January 13, 2022 (“Joint Decl.”) in support of their motion seeking approval of a

form and plan of notice to the settlement class and the scheduling of a fairness hearing for purposes

of Plaintiffs’ six proposed class action settlements with Defendants Westpac Banking Corporation

(“Westpac”), Australia and New Zealand Banking Group Limited (“ANZ”), Commonwealth Bank

of Australia (“CBA”), National Australia Bank Limited (“NAB”), JPMorgan Chase & Co. and

JPMorgan Chase Bank, N.A. (collectively, “JPMorgan”), and Morgan Stanley and Morgan Stanley

Australia Limited (collectively, “Morgan Stanley”). 2 A proposed order for each Settlement is filed

herewith.

       Plaintiffs additionally request that the Court enter superseding orders conditionally

certifying the Settlement Class with respect to the Westpac and JPMorgan Settlements in light of

the amendment of the JPMorgan and Westpac Settlement Agreements. 3




1
  For purposes of this motion “Plaintiffs” means Plaintiffs Richard Dennis (“Dennis”) and Orange
County Employees Retirement System (“OCERS”). Unless otherwise noted, ECF citations are to
the docket in Richard Dennis, et al. v. JPMorgan Chase & Co., et al., No. 16-cv-06496 (LAK)
(S.D.N.Y.) and internal citations and quotation marks are omitted.
2
 For purposes of this motion, “Settlement Agreements” or “Settlements” collectively refers to the
six above-referenced Settlement Agreements. See ECF Nos. 452-1, Joint Decl. Ex. 5 (Westpac
Settlement); ECF No. 490-1 (ANZ Settlement); ECF No. 490-2 (CBA Settlement); ECF No. 490-
3 (NAB Settlement); ECF Nos. 225-1, 452-2, Joint Decl., Ex. 4 (JPMorgan Settlement); ECF Nos.
490-4, Joint Decl. Ex. 6 (Morgan Stanley Settlement). “Settling Defendants” collectively refers
to Westpac, ANZ, CBA, NAB, JPMorgan and Morgan Stanley.
3
  Plaintiffs and Morgan Stanley have also entered into an amendment of the Morgan Stanley
Settlement Agreement. However, as the Court has not yet granted conditional certification of the
Settlement Class as to the Morgan Stanley Settlement, Plaintiffs have submitted an amended
proposed order seeking conditional certification of the Settlement Class that incorporates
the amendment to the Morgan Stanley Settlement, which is attached as Exhibit 9 to the
Joint Declaration and is filed herewith as a proposed order.
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                                  PRELIMINARY STATEMENT

          Proposed Settlements. Plaintiffs have reached Settlements with six defendants. 4 The

Settlements provide for non-reversionary cash payments totaling $137,000,000, plus cooperation

from each Settling Defendant. Mem. Of Law in Support of Mot. To Certify Class Conditionally

for Purposes of Class Action Settlements, ECF No. 489 at 1. The Court previously granted

conditional certification of a settlement class in connection with Plaintiffs’ proposed settlements

with Westpac and JPMorgan. See Order Granting Conditional Class Certification for Purposes of

Class Action Settlement with Westpac Banking Corporation, ECF No. 459 ¶3; Superseding Order

Granting Conditional Class Certification for Purposes of Class Action Settlement with JPMorgan

Chase & Co. and JPMorgan Chase Bank, N.A., ECF No. 460 ¶3. On December 10, 2021, Plaintiffs

filed a motion seeking conditional certification in connection with their proposed settlements with

ANZ, CBA, NAB and Morgan Stanley. See ECF Nos. 488-494. 5

          Notice Plan. The multi-pronged notice plan proposed by Plaintiffs herein is the same

notice plan the Court previously approved, which the Court found to be the best notice practicable

under the circumstances and to otherwise satisfy Fed. R. Civ. P. 23 and due process. Compare

ECF Nos. 459 ¶17, 460 ¶17 with “I.A” below. The proposed notice plan, which includes mail


4
  The remaining six non-settling defendants are: BNP Paribas, S.A. (“BNPP”); Credit Suisse AG
(“CS”); Deutsche Bank AG (“DB”); Royal Bank of Canada (“RBC”); Royal Bank of Scotland plc
(“RBS”); and UBS AG (“UBS”).
5
    The Settlement Class is defined as:
         All Persons (including both natural persons and entities) who purchased, acquired,
         sold, held, traded, or otherwise had any interest in, BBSW-Based Derivatives
         during the Settlement Class Period, provided that, if Representative Plaintiffs
         expand the putative or certified class in this Action in or through any subsequent
         amended complaint, class motion, or Other Settlement, the defined Settlement
         Class in this Settlement Agreement shall be expanded so as to be coterminous with
         such expansion. Excluded from the Settlement Class are the Defendants and any
         parent, subsidiary, affiliate or agent of any Defendant or any co-conspirator whether
         or not named as a Defendant, and the United States Government.

                                                   2
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notice, broad publication notice (both print and electronic) and a settlement website is the same

type of notice plan that has repeatedly been approved in prior class action settlements. See “I”

below.

          Form of Notice. The forms of the proposed mail notice and publication notice are

substantially similar to the forms of notice previously approved by the Court in connection with

the Westpac and JPM Settlements, which the Court found satisfied Fed. R. Civ. P. 23(c)(2)(B).

Compare ECF Nos. 459 ¶¶13-17, 460 ¶¶12-17 with “I.B” below. Plaintiffs have updated the

previously approved notices to include the same types of information concerning the additional

four settlements. See Joint Decl. Exs. 2-3.

          Amendments to Settlements.       Following the filing of the ANZ, CBA, and NAB

Settlement Agreements, and pursuant to the terms of their respective Settlements, Plaintiffs entered

into (i) a Second Amendment to the JPMorgan Settlement Agreement (the “JPMorgan Second

Amendment”), (ii) an Amendment to the Westpac Settlement Agreement (the “Westpac

Amendment”), and (iii) an Amendment to the Morgan Stanley Settlement Agreement (the

“Morgan Stanley Amendment”) in which the “Releasing Parties” term was amended to be

coterminous with that in the ANZ, CBA, and NAB Settlements. 6 No monetary or other terms were

amended. See “III” below.

          Schedule Leading to Fairness Hearing. Plaintiffs have proposed a schedule that would,

among other things, set (a) a date for a fairness hearing, (b) deadlines for executing the proposed

the notice plan, and (c) deadlines for class members to object to the settlements and request

exclusion from the class. See “IV” below.




6
    See Joint Decl. Exs. 4, 5 and 6.

                                                 3
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                                              ARGUMENT

I.          THE COURT SHOULD APPROVE THE PROPOSED NOTICE PLAN AND
            FORMS OF NOTICE FOR THE SETTLEMENTS

            A.      The Proposed Notice Plan Satisfies Fed. R. Civ. P. 23(e) and 23(c)(2)(B)

            Legal Standard. Rule 23 and due process require that the settlement class receive

  “adequate” notice of a class action settlement. See Wal-Mart Stores v. Visa U.S.A., 396 F.3d 96,

     113-14 (2d Cir. 2005). Whether notice is “adequate” depends on whether it is reasonable given the

     circumstances. See FED. R. CIV. P. 23 (e)(1)(B) (“The court must direct notice in a reasonable

  manner to all class members who would be bound by the proposal . . . .”); FED. R. CIV. P.

 23(c)(2)(B) (Rule 23(b)(3) class members must be given “the best notice that is practicable under

 the circumstances, including individual notice to all members who can be identified through

 reasonable effort.”); see also Weigner v. City of New York, 852 F.2d 646, 649 (2d Cir. 1988) (due

 process does not require actual notice to every class member, as long as class counsel “acted

 reasonably in selecting means likely to inform persons affected.”); Soberal-Perez v. Heckler, 717

 F.2d 36, 43 (2d Cir. 1983) (noting the “basic standard to be applied is one of reasonableness.”).

 Accordingly, courts are afforded “considerable discretion” in fashioning a notice plan. In re

 “Agent Orange” Prod. Liab. Litig., 818 F.2d 145, 168 (2d Cir. 1987).

            The Proposed Notice Plan. Plaintiffs’ proposed notice plan is the same plan the Court

  previously approved in connection with Plaintiffs’ proposed settlements with Westpac and

  JPMorgan. 7 See ECF Nos. 459 ¶¶13-16, 460 ¶¶12-16. The Court found that this plan of notice

     satisfied Fed. R. Civ. P. 23(c)(2)(B) and was the best notice practicable under the circumstances.

     ECF Nos. 459 ¶17, 460 ¶17.


  7
   The notice with respect to Plaintiffs’ settlements with Westpac and JPM was held in abeyance so
 that notice of those two settlements could be efficiently combined with notice of Plaintiffs’
 proposed settlements with ANZ, CBA, NAB and Morgan Stanley. ECF No. 461.

                                                     4
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       The proposed multi-pronged notice plan is as follows. First, the Settlement Administrator

(see below) will cause the mail notice (Joint Decl., Ex. 2) to be sent, via First-Class Mail, postage

prepaid, to the following categories of potential class members: (i) Settling Defendants’ known

counterparties for BBSW-Based Derivatives during the Class Period based on transactional and

other data provided by Settling Defendants; (ii) non-settling Defendants’ known counterparties for

BBSW-Based Derivatives, to the extent they are identified during the course of discovery and prior

to the completion of the notice plan; (iii) counterparties in BBSW-Based Derivatives that were

identified by market participants, including banks, brokers, and futures commission merchants,

pursuant to subpoenas issued by Plaintiffs’ Counsel; and (iv) the Settlement Administrator’s

proprietary list of banks, brokers, and other nominees, which are likely to trade or hold BBSW-

Based Derivatives on behalf of themselves and their clients. Id., Ex. 1 at 2. The mail notice also

requests that certain categories of recipients forward the notice to their clients or provide their list

of clients to the Settlement Administrator for the purpose of sending individual notice. The

foregoing mail notice is reasonably calculated to reach class members that can be identified

through reasonable effort. The database of these recipients will be continually updated to capture

any address changes, including any changes to the counterparty information made available to the

Settlement Administrator.

       Second, the Settlement Administrator will cause the publication notice (Joint Decl., Ex. 3)

to be published in The Wall Street Journal, Investor’s Business Daily, The Financial Times, Stocks

& Commodities, Global Capital, Hedge Fund Alert, and Grant’s Interest Rate Observer, and on

websites Zacks.com, Traders.com, GlobalInvestorGroup.com, and GlobalCapital.com. In

addition, the Settlement Administrator will cause the publication notice to be published in e-

newsletters from Global Investor Group, Stocks & Commodities, Zacks.com, and Barchart.com,




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as well as in email “blasts” to subscribers of Stocks & Commodities and Zacks.com. The

Settlement Administrator also will disseminate a news release via PR Newswire’s US1 Newsline

distribution list to announce the Settlements, which will be distributed to the news desks of

approximately 10,000 newsrooms, including print, broadcast, and digital websites across the

United States. Class members that do not receive the notice via direct mail may receive it through

one of the foregoing publications or by word of mouth.

       Third,    the   Settlement    Administrator     will   maintain    a   Settlement    Website

(www.BBSWSettlement.com) that will serve as a source for class members to obtain necessary

information regarding the Settlements. From the Settlement Website, class members may review

and obtain: (i) the Settlement Agreements with Settling Defendants; (ii) the full-length mail and

publication notices; (iii) Court orders and key pleadings; (iv) the proposed Distribution Plan (when

available); and (v) a Proof of Claim form for the Settlements (when available). The notices and

Settlement Website will be supplemented by a toll-free telephone number that class members can

use to contact the Settlement Administrator with questions and to facilitate the filing of claims.

Plaintiffs’ Counsel’s contact information is also reflected in the notices and Settlement Website

and they remain available to answer questions and assist class members.

       This type of multi-faceted notice program, which combines individual mail notice and

publication notice, has routinely been approved by federal courts in complex class actions,

including those prosecuted in this Circuit. See, e.g., Wal-Mart Stores, 396 F.3d at 105 (affirming

“notice plan that required mailing the settlement notice to class members and publishing a

condensed version of the settlement notice in numerous widely-distributed publications.”). The

notice plan proposed in this case is similar to notice plans that have been approved for use in other




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complex class actions in this District, including class actions that involved alleged manipulation

of interest rates. 8

        The Settlement Administrator. The proposed notice plan will be executed by the

Settlement Administrator, which Plaintiffs have proposed to be A.B. Data, Ltd. (“A.B. Data”).

The Court previously approved the appointment of A.B. Data as Settlement Administrator in

connection with the JPMorgan and Westpac Settlements. ECF Nos. 329, 332, 450, 459. Plaintiffs’

Counsel selected A.B. Data to develop the notice plan based on A.B. Data’s substantial expertise

in administering class action settlements involving financial instruments traded in over-the-counter

and exchange markets, including futures contracts, options contracts, swaps, and forwards, which

are amongst the financial instruments included in the proposed settlements. See Declaration of

Linda Young, attached as Ex. 1 to the Joint Decl. As described above, the notice plan readily

satisfies Rule 23’s requirements and due process. Wal-Mart Stores, Inc. v. Visa U.S.A., Inc., 396

F.3d 96, 113-14 (2d Cir. 2005).

                                                ****

        Plaintiffs respectfully request that the Court approve the notice plan, the form of the mail

and publication notices and appoint A.B. Data as Settlement Administrator.

        B.       The Mail Notice and Publication Notice Satisfy Fed. R. Civ. P. 23(c)(2)(B)

        Legal Standard. The Federal Rules require that a class notice include: “(i) the nature of

the action; (ii) the definition of the [settlement] class certified; (iii) the class claims, issues, or

defenses; (iv) [a directive] that a class member may enter an appearance through an attorney if the



8
 See, e.g., Laydon v. Mizuho Bank, Ltd., No. 12-cv-3419 (S.D.N.Y) and Sonterra Capital Master
Fund, Ltd. v. UBS AG, No. 15-cv-5844 (S.D.N.Y.) (Euroyen-based derivatives); Sullivan v.
Barclays plc, No. 13-cv-2811 (S.D.N.Y.) (Euribor products); In re Libor-Based Fin. Instruments
Antitrust Litig., No. 11-md-2262 (NRB) (S.D.N.Y.) (exchange-based products); In re Crude Oil
Commodity Futures Litig., No. 11-cv-3600 (S.D.N.Y.) (exchange-traded products).

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   member so desires; (v) that the court will exclude from the class any member who [timely] requests

   exclusion; (vi) the time and manner for requesting exclusion; and (vii) the binding effect of a class

   judgment on members [of the settlement class] under Rule 23(c)(3).” See FED. R. CIV. P.

   23(c)(2)(B).

             The Class Notice.      The mail and publication notices satisfy each of the foregoing

   requirements of Fed. R. Civ. P. 23(c)(2)(B). The notices carefully detail the nature of the action,

   identify in clear and concise terms the definition of the settlement class, and include an ample

      “Background of the Litigation,” which provides class members with an overview of the procedural

      history of the case, describes the claims, issues, and defenses presented in the action, and explains

      that, upon approval of the Settlements and entry of final judgment, the releases and judgments will

      be binding on all class members that do not opt out. Joint Decl., Exs. 2-3. The notices also explain

   that the Releasing Parties will release the Released Parties from the Released Claims. Id., Ex. 2 at

   11-16, Ex. 3 at 4. The notices will permit class members to fully consider the material terms of

   the proposed Settlements and understand the range of options available to them, including their

      right to object to or opt out of the Settlements (including the time and manner for requesting

   exclusion), their right to appear in Court and be heard concerning the adequacy of the Settlements

   (including through an attorney if they so desire), and their right to participate in the Settlements.

   Id., Ex. 2 at 2-16, 18, Ex. 3 at 3-4.

II.          PLAINTIFFS PROPOSE TO RETURN TO THE COURT FOR APPROVAL OF
             THE DISTRIBUTION PLAN AND CLAIM FORM FOLLOWING RECEIPT OF
             COOPERATION MATERIALS AND DISCOVERY FROM NON-SETTLING
             DEFENDANTS

             In connection with Plaintiffs’ proposed settlements with Westpac and JPMorgan, the Court

  approved Plaintiffs’ request to submit the proposed Distribution Plan and Claim Form to the Court




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       (and publish same on the Settlement Website) after the mail and publication notice but at least 90

       days before the fairness hearing. ECF Nos. 459 ¶18, 460 ¶18.

              The Court is not required to approve the Distribution Plan before conditionally certifying

       the settlement class. Courts routinely approve settlements before any plan to distribute settlement

       proceeds among class members exists. 9 At the same time the Distribution Plan and Claim Form

       are submitted to the Court for approval, they will be also published on the Settlement Website for

       class members to review approximately thirty (30) days prior to the deadline to file objections or

       opt out of the Settlements. The mail and publication notices advise class members to check the

       Settlement Website for the Distribution Plan and Claim Form. Joint Decl., Ex. 2 at 11; Ex. 3 at 3.

III.          THE  COURT   SHOULD    ISSUE  THE   SUPERSEDING    ORDERS
              CONDITIONALLY CERTIFYING THE SETTLEMENT CLASS IN LIGHT OF
              THE JPMORGAN SECOND AMENDMENT AND THE WESTPAC
              AMENDMENT

              The JPMorgan Second Amendment and the Westpac Amendment do not affect the

       Settlement Class for which those settlements were conditionally certified.          It is therefore

       appropriate for the Court to enter the superseding orders as to JPMorgan and Westpac. The

       amendments effectuate the terms contained in the JPMorgan and Westpac Settlement Agreements



       9
         See Order Preliminarily Approving Proposed Settlement with Deutsche Bank AG and DB Group
       Services (UK) Ltd., Scheduling Hearing for Final Approval of Proposed Settlements with Barclays
       plc, Barclays Bank plc, Barclays Capital Inc., HSBC Holding plc, HSBC Bank plc, Deutsche Bank
       AG and DB Group Services (UK) Ltd., and Approving the Proposed Form and Program of Notice
       to the Class ¶ 23, Sullivan v. Barclays plc et al., No. 13-cv-2811 (PKC) (S.D.N.Y. Jul. 6, 2017),
       ECF No. 364 (deferring submission and consideration of the distribution plan to a later date); Order
       Preliminarily Approving Settlements, Conditionally Certifying the Settlement Classes, and
       Appointing Class Counsel and Class Representatives for the Settlement Classes ¶ 8, In re Foreign
       Exchange Benchmark Rates Antitrust Litig., No. 13-cv-7789 (LGS) (S.D.N.Y. Dec. 15, 2015),
       ECF No. 536 (same); see also In re Agent Orange, 818 F.2d at 170 (holding that there is “no
       absolute requirement that such a [distribution] plan be formulated prior to notification of the
       class.”); Precision Assocs. v. Panalpina World Transp., Ltd., No. 08-cv-0042 (JG)(VVP), 2013
       WL 4525323, at *13 (E.D.N.Y. Aug. 27, 2013) (simultaneously entering final approval of
       settlement and approving plan of allocation).

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      that provide for such amendment if later settlements contained certain terms that would be more

      favorable to JPMorgan and Westpac. See Westpac Settlement, ECF No. 452-1 § 25; JPMorgan

      Settlement, ECF Nos. 225-1 § 24. As a result of the amendments, JPMorgan’s and Westpac’s

      Settlements are on the same footing as the ANZ, CBA, and NAB Settlements with respect to the

      defined term “Releasing Parties.”

IV.          THE COURT SHOULD APPROVE PLAINTIFFS’ PROPOSED SCHEDULE

             The proposed orders submitted herewith propose that the Court set a fairness hearing at the

      Court’s convenience, but no earlier than 285 days after the date the Court enters the proposed

      orders. The proposed orders include the following deadlines for events leading up to the fairness

      hearing:

                             Event                                   Proposed Date
          Begin distribution of mailed notice to Class No later than 90 days after entry of the
                                                       Notice Order (“Notice Date”)

          Commencement of the distribution of the No later than the Notice Date
          publication notice; launch of Settlement
          Website

          Complete initial distribution of mailed 60 days after the Notice Date
          notice

          Deadline to submit a proposed Distribution 90 days prior to the Fairness Hearing
          Plan and Proof of Claim and Release form

          Deadline to file motions for final approval 75 days prior to the Fairness Hearing
          of the Settlements, an award of attorneys’
          fees and expenses, and incentive awards.

          Deadline to object to the Settlements, 60 days prior to the Fairness Hearing
          Distribution Plan for settlement proceeds,
          request for an award of attorneys’ fees and
          expenses, or application for incentive
          awards

          Deadline to request exclusion from the 60 days prior to the Fairness Hearing
          Settlement Class


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                        Event                                    Proposed Date

     Deadline to file reply papers in support of 7 days prior to the Fairness Hearing
     final approval of the Settlements, request
     for an award of attorneys’ fees and
     expenses, and request for incentive awards.

     Fairness Hearing                              At the Court’s convenience, but no earlier
                                                   than 285 days after entry of the Notice
                                                   Order

     Last day for submitting Proof of Claim and 75 days after the Fairness Hearing or such
     Release forms                              other time as set by the Court


                                         CONCLUSION

       Plaintiffs respectfully request that the Court enter the proposed orders filed concurrently

herewith that, among other things: (1) approve the proposed plan and forms of the notice to the

settlement class; (2) appoint A.B. Data as Settlement Administrator for each of the Settlements;

and (3) set a fairness hearing and schedule leading up to the Court’s consideration of final approval

of the Settlements.     Plaintiffs also respectfully request that the Court enter the proposed

superseding orders with respect to the conditional certification of the Settlement Class as to the

JPMorgan and Westpac settlements.

                                                ***

       The six proposed orders approving the plan and forms of notice to the Settlement Class,

appointing A.B. Data as Settlement Administrator and setting a single fairness hearing for each of

the six proposed Settlements are being submitted by ECF concurrently herewith.

       The two proposed superseding orders granting conditional certification with respect to the

Westpac and JPMorgan Settlements are attached as Exhibits 7 and 8 to the Joint Declaration.

       The proposed amended conditional certification order with respect to the Morgan Stanley

Settlement is attached as Exhibit 9 to the Joint Declaration.


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       The three proposed conditional certification orders with respect to the ANZ, CBA and

NAB Settlements previously submitted to the Court are attached as Exhibits 10, 11 and 12 to the

Joint Declaration.



 Dated: January 13, 2022      LOWEY DANNENBERG, P.C.
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